Case 1:13-cv-00118-SWS Document 58-1 Filed 07/17/14 Page1of3

EXHIBIT A
MELLON DEPOSITION —

Case 1:13-cv-00118-SWS Document 58-1 Filed 07/17/14 Page 2 of 3

124—
1 Q. Okay. Why did you write that?
2 A. I think it was a result of a back and forth
3 with Jeff Neville, talking about various people's
4 ways of posting, and integrity, and so forth.
5 QO. Okay. Because you -- you felt people needed
6 to take the high road.
7 A. Yes. I think it’s a better course of
8 action, generally speaking.
9 Q. Under some of them is the phrase "Gone
10 Squatchin," which is the same thing that's on your
11 hat, I noticed, What's the significance of that?
12 A. Because I'm not going to wear this in the
13 shower.
14 Q. What is the significance of that phrase?
15 A. I believe that part of Mr. Glickman's fame
16 is based on a verification of the existence of
1? Sasquatch.
18 QO. Okay.
19 A. And there was considerable press coverage of
20 his efforts in that.
21 QO. Okay.
22 A. So it's a reference to Mr. Glickman.
23 Q. Okay. Kind of a poking at him a little bit?
24 A. That's your interpretation.
25 9 Okay. Well, how would you characterize it?

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Case 1:13-cv-00118-SWS Document 58-1 Filed 07/17/14 Page 3 of 3

125-4
- 1 A. Gone Squatchin.
2 Qo. What does it mean?
3 A. I just explained it.
4 Q. No, I'm just asking what the significance of
5 it is. I said you're poking at him a little bit and
6 you said that's my interpretation, so I'm asking you.
7 Why would you put it up there?
8 A. Why not?
9 QO. Okay. It's not the high road, though.
10 A Well, that's your opinion,
il Q. Okay. And then on your post --
12 A. Have you studied Mr. Glickman's study of
13 Sasquatch?
14 Qo. TI nave not.
15 A. Okay, we'll talk again when you have.
16 Q. In the Earhart Forum where you posted the
L? message about why you filed your lawsuit, the phrase
18 is, “Take No Prisoners." What's that refer to?
19] A. That's a phrase used by the Marine Corps.
20 Qo. And why would you put that up there?
2i A, Because I don't believe in laying over when
22 you see something going on that's wrong. I believe
23 if you see ill, then it's your duty to go after it
24 and correct it.
25 QO. We talked about the closure of some of the

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